                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION

   ISABEL ZELAYA, et al.,                            )
                                                     )
          Plaintiff,                                 )
                                                     )
   V.                                                )           No.: 3:19-cv-00062
                                                     )
   ROBERT HAMMER, et al.,                            )
                                                     )
          Defendant.                                 )

                                     NOTICE OF COMPLIANCE

          Mary Ann Stackhouse gives notice of compliance with the Order of this Court of August

   15, 2022, [Doc. 752].

                                                         s/Mary Ann Stackhouse
                                                         Mary Ann Stackhouse, Esq. (BPR #017210)

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this the 30th day of August, 2022, a copy of the foregoing was
   filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
   system to all parties indicated on the electronic filing receipt. All other parties will be served by
   regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.



                                                         /s/ Mary Ann Stackhouse
                                                         Mary Ann Stackhouse, BPR 017210




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